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                   BEFORE THE UNITED STATES JUDICIAL
                   PANEL ON MULTIDISTRICT LITIGATION

      IN RE: ORAL PHENYLEPHRINE MARKETING AND SALES PRACTICES
                                    LITIGATION:
                                   MDL No. 3089

                             SCHEDULE OF ACTIONS


1. Cathy Kleinman v. Bayer Health Care, LLC – District of New Jersey, 2:23-cv-20480 -
   Assigned to: Judge Kevin McNulty - Referred to: Magistrate Judge Andre M. Espinosa


                                                    Respectfully submitted,

                                                    /s/ Philip Furia
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